                                                         SEALED
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AO 9 1 (Rev. 11/11) Criminal Complaint



                                                                                                                         F LED INTHE
                                                                                                                UNITED STATES DISTRICT COURT
                                                                   for the                                           DISTRICT OF HAWAII

                                                            District of Hawaii                                        Sep 17, 2024
                                                                                                                  Lucy H . Carrillo, Cieri< of Court


                  United States of America                            )
                                V.                                    )
                                                                      )      Case No.
                      JESS KIESEL LEE
                                                                      )                  Mag. No. 24-1007 RT
                                                                      )
                                                                      )
                                                                      )             FILED UNDER SEAL PURSUANT TO
                           Defendant(s)                                                     CRIMLRS.2(a)(l)

                                                  CRIMINAL COMPLAINT
          I, th e complainant in this case, state th at the following is tme to the best of my knowledge and belief.
On or about the date(s) of                    August 7, 2024                 in the county of                Maui                          in the
                        District of             Hawaii           , the defendant(s) violated:

             Code Section                                                        Offense Descrip tion
18 U.S.C. § 842(i)(1)                            Count 1: Possessing, as a convicted felon, an explosive that has been
                                                 shipped or transported in or affecting interstate or foreign commerce

18 U.S.C. § 844(i)                               Count 2: Maliciously damaging , by means of explosives, property affecting
                                                 interstate commerce




          This criminal complaint is based on these facts:
See attached affidavit.




          ~ Continued on the attached sheet.




                                                                                                FBI SA Jordan Reigel
                                                                                                 Printed name and title

Sworn to under oath before me telephonically, and attestation
acknowledged pursuant to Fed.R.Crim.P. 4. l (b)(2).

Date:             09/17/2024


City and state:                          Honolulu, Hawaii                                                   Rom A. Trader
                                                                                                            United States Magistrate Judge
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UNITED STATES OF AMERICA

                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,

             Plaintiff,                      MAG. NO. 24-1007 RT

      vs.                                    AFFIDAVIT IN SUPPORT OF
                                             CRIMINAL COMPLAINT
JESS KIESEL LEE,

             Defendant.


            AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      I, the undersigned complainant, being duly sworn telephonically, state the

following is true and correct to the best of my knowledge and belief:
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                                 BACKGROUND

      1.     I am employed as a Special Agent of the Federal Bureau of

Investigation (“FBI”), Department of Justice, and have been since November 2016.

I completed the twenty-one-week New Agent Training Course at the FBI Academy

in Quantico, Virginia. During that training, I received instruction on investigating

violations of federal law, report writing, constitutional law, and search warrants,

among other topics.     Also during my employment with the FBI, I received

comprehensive training at the FBI Academy on multiple law enforcement topics,

including interviews, interrogations, searches and seizures, computer crimes, and

surveillance. I have also been trained in investigative techniques, tactics, firearms,

and investigatory tasks, such as conducting surveillance operations and executing

search warrants.

      2.     Further, I have been trained in the collection and analysis of digital

evidence, including evidence obtained from computers, cell phones, cell phone

providers, and Internet service providers. As a federal agent, I am authorized to

investigate violations of the laws of the United States, and I am a law enforcement

officer with the authority to execute search and arrest warrants under the authority

of the United States. Due to my training and experience as an FBI Special Agent, I

am familiar with the United States Criminal Code.



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      3.     I am an “investigative or law enforcement officer” under 18 U.S.C.

§ 2510, authorized to investigate and make arrests. This affidavit shows probable

cause for the requested warrant.

      4.     The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other law enforcement

agents and witnesses. This affidavit is focused on establishing probable cause and

does not, therefore, cover all details of the investigation.

      5.     I submit this affidavit in support of a criminal complaint charging Jess

Kiesel LEE with (1) possessing, as a convicted felon, an explosive1 that has been

shipped or transported in or affecting interstate or foreign commerce in violation of

18 U.S.C. § 842(i)(1) and (2) maliciously 2 damaging, by means of explosives,

property affecting interstate commerce in violation of 18 U.S.C. § 844(i), both

occurring on or about August 7, 2024.


1
  “[T]he term ‘explosive’ means gunpowders, powders used for blasting, all forms
of high explosives, blasting materials, fuzes (other than electric circuit breakers),
detonators, and other detonating agents, smokeless powders, other explosive or
incendiary devices . . . .” 18 U.S.C. § 844(j); see also 18 U.S.C. § 842(p)(1)(B);
(classifying “flash powders” as “high explosives,” pursuant to rule-making
authority listed in 18 U.S.C. § 847).
2
  “Maliciously” means the actor “either intentionally damages or destroys property
covered by § 844(i) or acts with willful disregard of the likelihood that damage or
injury would result from his or her acts.” Togonon v. Garland, 23 F.4th 876, 878
(9th Cir. 2022) (quotation marks and citation omitted).

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                               PROBABLE CAUSE

      6.     On August 7, 2024, around 4:45 p.m., Maui Police Department

(“MPD”) officers encountered multiple improvised explosive devices (“IEDs”)

near Kaamana Street in Kula, Hawaii (the “Incident Location”). MPD determined

that multiple IEDs had been detonated along the roadway at that location. There

were several undetonated IEDs at the location as well, including the ones pictured

below:




One of the detonated IEDs had been constructed with pipe, attached to a guardrail,

and detonated. That detonation appeared to have caused considerable damage to

the guardrail and the vicinity. A picture of that guardrail is shown below, on the

left, alongside a picture of a neighboring guardrail for comparison, on the right; the




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guardrail depicted on the left is surrounded on the ground by what appeared to be

remnants of detonated IEDs, including segments of a bungee cord:




The undetonated IEDs and the remnants of detonated IEDs were fairly consistent

in their components and materials with that of homemade, illegal fireworks.

      7.    After rendering the IEDs found at the Incident Location safe, MPD

personnel sent those IEDs to the FBI Laboratory for analysis. FBI personnel

trained in analysis of explosives determined the IEDs were firearms that contained

explosive and incendiary material capable of causing destruction by explosive



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force. Preliminary FBI Laboratory analysis subsequently determined that the IEDs

did not appear to have been crafted as weaponized devices, based on a cursory

review of information available to the examiners.       That preliminary analysis

maintained, however, that the devices were improvised explosive devices (IEDs)

capable of creating explosive and/or hazardous outcomes.

      8.     FBI Laboratory analysis detected and identified one latent fingerprint

matching known fingerprints for Jess Kiesel LEE, on the adhesive side of masking

tape on one of the functioned IEDs recovered from the Incident Location. That

particular IED had been located and seized approximately 15 to 25 feet from the

damaged guardrail, pictured above. And that particular IED is believed to contain

a mixture of strontium carbonate, aluminum, and a component consistent with

potassium perchlorate, according to preliminary analysis from FBI Laboratory.

Based on my knowledge of explosives and from my discussions with subject-

matter experts, I know that aluminum and potassium perchlorate can form flash

powder, an explosive. I also know, based on my knowledge and my discussions

with experts, that such precursor chemicals are unlikely to have been produced in

the State of Hawaii and, instead, are likely to have been sourced in and affecting

interstate or foreign commerce. Moreover, I know based on my training and

experience, that no company manufactures and assembles flash powder in the State

of Hawaii.

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        9.    A database search of Jess K. LEE resulted in the discovery of several

prior criminal convictions under Hawaii state law to include felony convictions for

assault and terroristic threatening. Database query results also revealed LEE’s

registered address in Kula, Hawaii is approximately a five-to-ten-minute drive

from the Incident Location. Further, database searches showed several phone

numbers associated with LEE, including an 808 number ending *6652, and email

addresses associated with LEE, including grandmasterlee1999@[redacted].com.

        10.   On August 28, 2024, investigators obtained information from

Company A, an online retail company that sells pyrotechnic chemicals and

supplies, concerning LEE. According to Company A, LEE maintained an account

with     Company    A.       The    account   information   included   the   email

grandmasterlee1999@[redacted].com and, as LEE’s mailing address, the same

registered address in Kula, Hawaii described above.           I know from prior

investigations and open-source information that Company A is headquartered on

the continental United States and ships some of its pyrotechnic products to

customers in the State of Hawaii.

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                                  CONCLUSION

      11.   Based on the foregoing facts, I submit there is probable cause to

charge Jess Kiesel LEE with (1) possessing, as a convicted felon, an explosive that

has been shipped or transported in or affecting interstate or foreign commerce in

violation of 18 U .S.C. § 842(i)(l) and (2) maliciously damaging, by means of

explosives, property affecting interstate commerce in violation of 18 U.S.C.

§ 844(i), both occurring on or about August 7, 2024.

                                              Respectfully submitted,




                                              Special Agent
                                              Federal Bureau of Investigation


This Criminal Complaint and Affidavit in support thereof were presented to,
approved by, and probable cause to believe that the defendant above-named
committed the charged crime found to exist by the undersigned Judicial Officer
at 1:05 p .m . on September 17, 2024.

Sworn to under oath before me telephonically, and attestation acknowledged
pursuant to Fed. R. Crim. P . 4.l(b)(2), this 17th day of September 17, 2024, at
Honolulu, Hawaii.




                            Rom A. Trader
                            United States Magistrate Judge


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